 Case 2:21-cr-00002-HYJ-MV ECF No. 54, PageID.113 Filed 05/12/21 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                     Case No. 2:21-cr-2
v.
                                                     Hon. Hala Y. Jarbou
COADY DON McMAHAN,

      Defendant.
__________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action (ECF No. 48). The Report and Recommendation was duly served

on the parties, and defendant has filed his response within the time required by law. Based on this,

and on the Court’s review of all matters of record, including the audio transcript of the plea

proceedings, IT IS ORDERED that:

1.     The Report and Recommendation of the Magistrate Judge (ECF No. 48) is approved and

       adopted as the opinion of the Court.

2.     Acceptance of Defendant's plea of guilty is held in abeyance pending Defendant’s personal

       appearance at sentencing now scheduled for August 11, 2021 at 10:00 a.m.

3.     Absent any bond violations, Defendant shall remain on bond pending sentencing.



 Dated:    May 12, 2021                               /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
